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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 SUSAN UTTER,                                  §
                                               §
               Plaintiff,                      § CIVIL ACTION NO. 4:21-CV-00422-SDJ-
 v.                                            §               CAN
                                               §
 KUEHNE NAGEL, INC.,                           §
                                               §
               Defendant.

                                           ORDER


       Currently this case is set for Rule 16 management conference on Thursday, September 2,

2021, at 1:30 p.m. [Dkt. 9].         The Parties have notified the Court that they have

settled [Dkt. 11].          The Rule 16 management conference is therefore canceled.

Accordingly,

       It is ORDERED that the Rule 16 management conference set for Thursday,

September 2, 2021, at 1:30 p.m. is hereby CANCELED.

        IT IS SO ORDERED.
        SIGNED this 2nd day of September, 2021.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE




 ORDER – Page Solo
